Case 1:01-cv-12257-PBS Document 6195-2 Filed 06/26/09 Page 1 of 10

TAB 1
Case 1:01-cv-12257-PBS Document 6195-2 Filed 06/26/09 Page 2 of 10

1
NO. GV3-03079
THE STATE OF TEXAS ) IN THE DISTRICT COURT :
ex rel. ) :
VEN-A-CARE OF THE ) :
FLORIDA KEYS, INC., ) :
Plaintiff (s), ) :
) ;
vs. ) TRAVIS COUNTY, TEXAS :
) F
ROXANE LABORATORIES, INC., )
BOEHRINGER INGELHEIM ) :
PHARMACEUTICALS, INC., BEN ) ;
VENUE LABORATORIES, INC., ) |
and BOEHRINGER INGELHEIM ) ;
CORPORATION, ) i
Defendant(s). ) 201ST JUDICIAL DISTRICT :
a
KK RRR RK KEK KEKE KEK RRR KK RRR KEK KEKE KK KEK KKK KKK RRR KKKE KEKE EK ‘|
ORAL AND VIDEOTAPED DEPOSITION OF
q
SHELDON BERKLE ;
JANUARY 27TH, 2005 :

VOLUME 1 OF
KARR RAKE KEKE KEKE KR RK KK KER ER EKER KEE ERK KKK KKK KKKEKKEKKEKEKEE i
ORAL AND VIDEOTAPED DEPOSITION OF SHELDON BERKLE, |

j

produced as a witness at the instance of the

Plaintiff(s), and duly sworn, was taken in the

above-styled and numbered cause on the 27th of January,
2005, from 9:01 a.m. to 5:15 p.m., before CAROLYN J.
FORD, Registered Professional Reporter and Notary
Public, State of Florida at Large, reported by machine
shorthand at the Doubletree Guest Suites, 12200 Tamiami

Trail North, Naples, Florida, pursuant to the Texas

Rules of Civil Procedure and the provisions attached

previously.

a
—————————
Dea Anal AU LER RC etn adc o Ir ASILARINCaR Aas UMP UHL CL cela Dros RnR a AR LEME Hee Tac LB Fear RO EMAL thnk eam ea Ihe aR ate Seer MART Reet Paar

Case 1:01-cv-12257-PBS Document 6195-2 Filed 06/26/09 Page 3 of 10

7 (Pages 22 to 25)

22 24

1 have or not have. 1 generic business. Is that what you're saying?

2 Q_ Let me see the organizational chart. 2 A Correct.

3 MR. BREEN: What's our next exhibit number? 3 Q So who was minding the store when it came to the

4 MR. CRAWFORD: 139. 4 generic business from a sales and marketing perspective?

5 MR. McCONNICO: It should be a lot more than 5 A There was a chief executive of Roxane i

6 that. It sure seems like we're past that. 6 Laboratories.

7 MR. CRAWFORD: We can skip 100 if you want to,I} 7 Q_ Who was that? i

8 guess. 8 A That was — at that point it would have been :

9 MR. COVAL: This is the second case. 9 Mr. Jerry Wojta. And for Ben Venue, which is also ;
10 MR. BREEN: 139, you said? 10  =mentioned, that's what BV stands for, that was Mr. Tom :
11 MR. CRAWFORD: 139, I believe. 11 Russillo. :
12 (Exhibit No. 139, Organizational Chart, was 12 Q_ So who was responsible for making sure that the
13 marked for identification.) 13. German executives in Ingelheim understood what they needed |f:
14 Q [By Mr. Breen] I'm going to hand you 14 to understand regarding this business of reporting prices i
15 ~— Exhibit 139. 15 that were pertinent to state Medicaid reimbursement? /
16 MR. COVAL: Is there a Bates on that? 16 A I think you're being too specific. I think the
17 MR. BREEN: Yes, sir. It's ROX-01438 17 _ responsibility for information flow to the German parent
18 MR. COVAL: Thank you. 18 company laid in the hands of the CEO which was Mr.
19 MR. BREEN: Sure. 19  Gerstenberg.
20 Q_ [By Mr. Breen] Have you ever seen this before? 20 Q Was Roxicodone a branded pharmaceutical?
21 A I'm sure I probably have seen it. I mean, I 21 A_ No, it was not.
22 ~=don't recall specifically seeing this particular layout, 22 Q. Then why was it represented to be a branded
23 but certainly I'm familiar with organization charts. 23 pharmaceutical?
24 Q You -- you see you're -- you're on there as a4 A And I'm not clear on who would make that
25 executive VP -- 25 representation. I have no idea who would make that

23 25

1 A Correct. 1 representation.

2 Q. -- BU Ethical Pharmaceuticals, S. Berkle? 2 Q. So if they --

3 A Correct. 3 A It may have been stated as a branded generic, but

4 Q_ That's you; right? 4 certainly in my life, in my pool, it would not be

5 A That's me. 5 considered a branded pharmaceutical.

6 Q_ That would be the business unit? 6 Q How would it be reimbursed by the Medicaid

7 A_ Yes, that's correct. 7 programs, as a brand or a generic?

8 Q. And the business unit was basically Boehringer 8 A [have no idea because I wasn't involved with

9 Ingelheim, Roxane Laboratories -- Boehringer Ingelheim 9 that business.
10 __ being BIPI, Boehringer Ingelheim Pharmaceuticals, Inc., 10 Q_ Who had primary responsibility for the Boehringer
11. the U.S. company and later Ben Venue Laboratories all 11 USS. operations advertising budget when you were the 4
12 rolled into one? 12 vice -- senior vice president for sales and marketing?
13 A The business unit concept which, by the way, was 13 A Are you referring to the branded business or the
14 changed subsequently. You know, I'm not sure I would have {14 —_ generic business?
15 100 percent agreement on this. As an example where it has [15 Q_ Were there two different budgets?
16 under me BV and RLI multisource, T. Russillo -- 16 A Absolutely.
17 Q_ Yes, sir. 17 Q_ So when the budgets were reported to and approved |}:
18 A_ -- that really should have been a dotted line as 18 by the German executives, you sent two budgets up, one for 5
19 opposed to a straight line. 19 brands and one for generics?
20 Q Why? 20 A Absolutely.
21 A Because I didn't have exclusive responsibility 21 Q. Okay. So who's responsible for the advertising
22 for that end of the business. I had a strategic 22 budget for generics? :
23 responsibility, but not an operational day-to-day 23 A Again, when I was still employed, the last person :
24 responsibility. 24 would have been Mr. Tom Russillo as the president of :
25 Q_ Soif the -- well, this -- because that's the 25 Roxane and Ben Venue Laboratories.

Ew Sh OANA el LSE ea Meee IE

And SHRSN SN CLI Ute NSF

{eaealaaNMAEHAKEE PLETE!
Case 1:01-cv-12257-PBS Document 6195-2 Filed 06/26/09 Page 4 of 10

8 (Pages 26 to 29)

26 28
L Q_ And who was responsible for the advertising 1 responsible for conveying orders. Ss
2 budget for brands? 2 Q_ Why would you be involved in discussions about :
3 A Myself. 3 Roxane's meter dose inhaler between the German parent
4 Q_ Now, are you aware that the budget for 4 executives and people at Judy Waterer's level?
5 advertising and marketing for the Boehringer Ingelheim 5 A Again, it wouldn't have been with Judy Waterer's |
6 USS. operations was substantially greater than the budget 6 level, at her level. It would have been with superiors to i
7 for research and development during the years that you 7 her. So, again, I would be involved in discussions
8 were the executive -- or the vice president for sales and 8 because, again, we marketed Atrovent, the brand. And ‘
9 marketing? 9 Roxane was a sister company. And, therefore, there was :
10 MR. McCONNICO: Objection; form. 10 cross fertilization of general information about our :
11 A I'm certainly -- you know, I'm not aware of that {11 experiences with Atrovent. ;
12  atalland I'm not sure. Are you referring -- again, are |12 Q_ Who was Roseann Press?
13 you referring to branded business? Are you referring to |13 A_ Roseann Press was my administrative assistant. :
14 generics business? 14 Q_ Was the Combivent meter dose inhaler a brand or a i
15 Q [By Mr. Breen] Well, let's take the branded 15 generic? i
16 business since you had control of that budget. 16 A Abrand. :
17 A Right. 17 Q_ Was the proposed Combivent unit dose product a :
18 Q. What was bigger, the budget for advertising or 18 brand or a generic?
19 the budget for research and development? 19 A Again, if we're talking about Combivent as a unit
20 A Research and development. 20 dose, a potential unit dose vial form of -- available form :
21 Q How about the generic side? 21 to deliver the medication, then that in my mind is a
22 A Ihave no idea. 22 ~~‘ brand.
23 Q Did you ever supervise Judy Waterer? 23 Q So the Atrovent unit dose product --
24 A No. 24 A Uh-huh,
25 Q_ She was not in your chain of command? 25 Q_ -- that was a brand; correct?
27
1 A Correct. 1 A Correct.
2 Q How about Christine Ferrara? 2 Q_ And you were responsible for it?
3 A Again, she reported into someone who reported to | 3 A Yes.
4 me 4 Q Including any arrangements to deeply discount it :
5 Q_ Did Judy Waterer report to somebody that reported 5 to hook big clients? :
6 to you? 6 A I'm —I'm not aware of anything referring to ;
7 A Again, for a period of time when I had a dotted 7 ~~ ‘that. :
8 relationship with Roxane, in other words, through about} 8 Q You don't know Rick Powell, do you? j
9 1999. After that, not. 9 A I'm sorry?
10 Q Did you ever have responsibility for Roxane's 10 Q You don't know Rick Powell, do you?
11 ipratropium bromide meter dose inhaler? 11 A I never heard of him.
12 A No. 12 Q. Never heard of him?
13 Q. Don't know anything about it? 13 A No. ;
14 A I did not say I didn't know anything about it. 14 Q_ Ever heard of RDI, a respiratory -- a respiratory :
15 I'm most certainly aware that they launched a generic |15 company RDI?
16 version of a brand Atrovent that I was responsible for in |16 A Again, I'm aware of the name, but I don't know
17 ‘the United States. 17 any details. ;
18 Q_ You were responsible for the brand Atrovent; 18 Q. Ever heard of Accurate Pharmacy?
19 correct? God bless you. 19 A No. :
20 A Right. 20 Q_ Well, who -- who approved the prices that the
21 Q God bless you. So you never conveyed any orders |21 branded products that you were responsible for in the :
22 or directions from the German executives to Judy Waterer |22 sales and marketing business could be sold at?
23 or anybody else regarding the Roxane meter dose inhaler? |23 A Again, they would have to have the approval of :
24 A I did not convey orders. I may have been 24 ~~ the CEO, Mr. Gerstenberg, and with the parent company.

involved in discussions, but never being -- J was not

Q. For the branded products?

Case 1:01-cv-12257-PBS Document 6195-2 Filed 06/26/09 Page 5 of 10

10 (Pages 34 to 37)

34 36

1 Q. And we have -- if you can go to the top of it 1 (Asread): Although I have not received the details in

2 which is the text of this e-mail that we're referring to, 2 writing, this has been communicated to me verbally. Asa

3 did you prepare this? 3 forewarning some of the things we will have to review

4 A Again, I can't remember specifically that I 4 include --

5 prepared this. I don't know. I can't remember the 5 What kind of details were you waiting for?

6 details, but I assume that if my signature is there that 6 A. Details, again, I think is all relative.

7 certainly I would be aware of the fact that that memo | 7 — Certainly within any budget you would have different

8 would say going out. 8 departmental, different functional expense areas. You

9 Q_ Well, this is an e-mail. It's not really signed 9 would have sales forecasts for the major products. And
10 but it says "Regards, Shelly"; do you see that? 10 that's what I would interpret as meaning details. Not if,
11 A Yes. 11. you know, this person should do that or that person should
12 Q. Was that common for you to dictate something, 12 do that, that's not the type of thing that they would get
13 have Ms. Press send it -- 13 involved in.
14 A Yes. 14 Q Allright. The first one says (as read):
15 Q_ -- under your -- with your name under it? 15 Removal of -- how do you pronounce that?
16 A Yes. 16 A Enlimomab.
17 Q_ Allright. Did she ever do that to your 17 Q (As read): Enlimomab for the planning period.
18 knowledge without your authority? 18 What was enlimomab?
19 A No. 19 A Enlimomab was a product within research at the
20 Q. She didn't impersonate Shelly, she did what you 20 early stage development within the R&D area of Boehringer
21 told her to; right? 21 Ingelheim, It happened to be a U.S. discovered product.
22 A Absolutely. 22 And obviously what -- you know, again, I can't remember
23 Q_ Okay. So it says (as read): We just received 23 specifically, but it would have been a product that
24 word from Ingelheim. 24 perhaps development would occur outside of the existing
25 Now Ingelheim being the executives of the German |25 _ planning period.

35

1 parent corporation in Ingelheim; correct? 1 Q. Was what was that drug for?

2 A Correct. 2 A I can't even recall.

3 Q (Asread): That we have to revise our 1997 3 Q Did it ever come on line?

4 budget and long-term sales forecast. 4 A_ No, it did not.

5 A Uh-huh. 5 Q_ Do you know why?

6 Q Do you recall the German executives telling you 6 A [assume the clinical data did not warrant

7 ~~ that you must revise your 1997 budget and long-term sales 7 advancing it through to the regulatory stage.

8 forecast? 8 Q (Asread): Review of melo --

9 A No, I don't recall that. 9 A Meloxicam.
10 Q Would that be unusual for them to say something 10 Q_ -- meloxicam sales forecast. What is meloxicam?
11 like that? 121 A Meloxicam was -- is -- was and is marketed under
12 A I think in any budget procedure you have a lot of 12 the brand name MOBIC. It is used for arthritic
13 back and forth before the final budget is approved. So I 13 conditions.
14 think it's quite a norm -- normal thing to occur within 14 Q So what would they mean by review the sales
15 budget discussions. 15 forecast for the MOBIC or meloxicam drug?
16 Q Why couldn't the U.S. corporations just approve 16 A Again, there would have been discussion between
17 their own budget? 17 ‘the U.S. operation and the parent company as to what the
18 A Again, I think any business where you have a 18 market potential would be for that product. So, again,
19 parent company, a multi-national company, the parenthas |19 that's part of the normal process of finalizing budgets.
20 the ultimate authority in approving budgets on a worldwide | 20 Q. The next one (as read): Adjustment of
21 basis. I think that's norm within business. I don't care 21 introduction of ipratropium MDI, Roxane, from April 1,
22 whether it's pharmaceuticals or otherwise. 22 19-- April 1st to October Ist, 1997 with the resultant
23 Q_ Even the details of the -- of the business plan? 23 implications for both Roxane and BIPI budgets, both sales
24 A I don't know what you mean by details. 24 and promotional expenses.
25 Q_ Well, let's look at this a little further then. 25 Do you see that?

EE ES EL eee A HURL Ped ubn LU VE PER Ee aE, HE

ELS SLO a SPERM SS SSR SLE LAR ANTES keee LO

Case 1:01-cv-12257-PBS Document 6195-2 Filed 06/26/09 Page 6 of 10

11

(Pages 38 to 41)

38 40
1 A Yes, I do. 1 ‘that would never occur.
2 Q_ Why are you telling the generic side or conveying 2 Q_ Wouldn't occur?
3 information that the German executives say you're going to 3 A Absolutely not.
4 have to do about a generic product? Why are you involved 4 Q_ Would you allow it to occur?
5 in conveying that information? 5 A Absolutely not.
6 A. Again, this happens to be a generic product of a 6 Q_ Okay. Now, moving down to review of Duraclon --
7 Boehringer branded product. And as a result there are 7 A Yes.
8 obvious implications for the branded product once -- 8 Q_ -- in the Roxane forecast. What's Duraclon?
9 excuse me, the generic is launched. And it was natural 9 A Duraclon was a branded product. It was an
10 for the sister companies to have -- share information and 10 injectable quantity. And at that point in time Roxane
11 convey -- the branded company to convey their experience {11 marketed predominantly multisource products, generic
12 of the marketplace to their sister company. 12 products, but they also had some branded products in their
13 Having responsibility for the strategic 13 line. Ata later date when we reorganized, any branded
14 responsibility for the business unit which was in 14 products were taking out -- taken out of the Roxane line.
15 existence at that time, then I would facilitate discussion 15 Q But at this particular point in time in 1996, if
16 between the two units. But anything beyond that in terms |16 Roxane was working with a branded product, then you would
17 of the specific details of the generic launch were 17 have some operational responsibility for marketing with
18 established by the Roxane organization. 18 respect to that product?
19 Q Number four (as read): Review of Persantin, 19 A Correct.
20 slash, ASA press. 20 Q. Okay. And then review of the tam --
21 A Right. That -- that refers to a branded product 21 A Tamsulosin.
22 Aggrenox which was being scheduled for launch within the |22 Q_ -- tamsulosin price.
23 planning period. 23 A Correct. Tamsulosin is marketed under the
24 Q What do the German executives at Ingelheim, 24 trademark Flomax.
25 Germany have to do with the price of that particular drug 25 Q. That's a brand?
39 41
1 in the United States? 1 A Branded product.
2 A Again, the parent company had to agree to the 2 Q_ This was your personal request. And then, seven
3 establishment of price -- launch prices for any branded 3 (as read): Inclusion of up to date Mirapex forecast?
4 product. 4 A Mirapex is a branded product used in the
5 Q Allright. Do they have to agree to any price 5 treatment of Parkinson's disease.
6 reductions for a branded product? 6 Q. And then (as read): Tentative revision of
7 A In most cases we would inform them certainly from | 7 | Combivent introduction. I'll have to feed this into you.
8  aninformational point of view. Sometimes they got 8 A Again, Combivent is a branded product and we were
9 involved, sometimes they didn't get involved. And, again, | 9 looking towards trying to develop data sufficient for
10 in my experience in my tenure in the United States, I'm 10 ‘regulatory approval.
11 not aware of reducing prices within the branded il Q_ And then it goes on to number nine (as read):
12 = marketplace. 12 Review and confirmation of all product pricing long term.
13 Q If prices had been reduced in the branded 13 __ Ed, please review this for Roxane. I would like to see
14 marketplace, would it have been your responsibility to 14 all the recommended pricing for BIPI.
15 take action to modify reports of those prices that were 15 A Right. So, in other words, I'm conveying the
16 used for government reimbursement programs? 16 — message that I received from parent company, but I'm
17 A Again, people in my organization would have made |17 _ saying Ron -- Ed, the Roxane multisource products, that's
18 recommendations which I would approve if that was to 18 your responsibility. Anything to do with the branded
19 occur. 19 products, you know, or relative to BIPI I would look at.
20 Q Would you have ever allowed a situation to occur 20 But it doesn't indicate that I would be looking at the
21 in the branded side where the price of a brand was 21 generic prices.
22 reduced, but you didn't tell the entities reporting those 22 Q. Well, Ed Tupa is the Ed here; right?
23 prices to the government so that you could keep the 23 A Correct.
24 reimbursement up even though the price went down? 24 Q_ So when you say to Ed, Look at this for Roxane,
25 A Well, I can say that if that was ever to happen 25 you knew that Roxane also manufactured some brands; right?

pn
———————————
Tan aA Cher aN VLR A BAH GL ESS UOLAO AM ETAT Reo L AOL NGA MMO RAIL soa ASS RI AGL ATP Rss MR ULLAL tha eA ADU hare Cb A LS A EARLS A I NA AS aa CT WOES

Case 1:01-cv-12257-PBS Document 6195-2 Filed 06/26/09 Page 7 of 10

17 (Pages 62 to 65)

62 64

1 as head of marketing and sales vice president. And I'd 1 Prior to this point in time, I headed what they

2 ask that you explain to the Court and the jury that if you 2 called the business unit which involved pharmaceuticals in

3 were not the most senior executive in the area of 3 general. And I had a strategic involvement with both the

4 marketing and sales during your last years at Boehringer 4 branded business and the multisource, but not a day-to-day

5 Ingelheim Corporation, why is it that you are identified 5 operational responsibility for the multisource business.

6 as such on the corporate data sheets that I've handed to 6 Q When did you stop having a marketing and sales

7 ~~ you and on the e-mail correspondence from the corporate 7 ~~ executive responsibility for the business unit that you

8 counsel's office? 8 just testified about?

9 A Again, if you look at these exhibits, 144, it 9 A It was approximately the time of these memos. I
10 ~— identifies me as vice president head of marketing and 10 can't remember precisely, but I know it was around 2000.
11 __ sales ethical pharmaceuticals. Ethical pharmaceuticals 11 Q Okay. So up until 2000 you had a marketing and
12 refers to the branded pharmaceuticals. That is acommon {12 sales executive responsibility to some degree for the
13 term used within the industry to refer to branded 13 _ business unit including the generic pharmaceuticals?

14 pharmaceuticals. The others state prescription medicines, | 14 A Correct.
15 but in the world of Boehringer Ingelheim, prescription 15 Q Did your job function change significantly in
16 ~=medicines is the branded medicine business. At that point |16 | 2000 when you were appointed vice president for sales and
17 _ -- at this point in time there was another individual 17 marketing for Boehringer Ingelheim Corporation?
18 _ responsible for the multisource generic business in the 18 A It changed substantially in the sense that I no
19 United States referring both to Roxane Laboratories and |19 longer had any relationship to the generic or multisource
20 Ben Venue Laboratories who I had responsibility. 20 business.
21 Q Allright. Well, since Boehringer Ingelheim 21 Q_ Let me show you what's been -- what we marked.
22 Corporation was the senior parent in the United States -- 22 We'll have this one marked first.
23 A Yes. 23 MR. BREEN: Pardon me? Yeah. I'll get it.
24 Q_-- you've agreed to that; right? 24 (Exhibit No. 149, New Release, was marked for
25 A Correct, 25 identification.)
63 65

1 Q_ Can you please identify on the corporate data 1 MR. COVAL: 149, is that correct?

2 sheets which list the officers and directors of Boehringer 2 MR. McCONNICO: Cynthia, do you have a copy of

3 Ingelheim Corporation anybody else that had responsibility 3 this 149?

4 for sales and marketing at the senior executive level for 4 MR. BREEN: Yeah. I'm sorry. I thought I handed

5 Boehringer Ingelheim Corporation? 5 it to you.

6 A Again, this -- my knowledge is that this -- from 6 MR. McCONNICO: Thank you.

7 ~~ my point of view this refers to the branded business. And | 7 Q_ [By Mr. Breen] This purports to be a news

8 my responsibility at this point in time was strictly for 8 release or immediate release Bates stamped B-I-C J-U-R-I-S

9 the branded business, period. 9 0037 and 0038. It says (as read): Boehringer Ingelheim
10 Q_ In passing information through from the German 10 announces changes in U.S. ethical pharmaceutical business
11 parent from time to time, it was relevant to the generic 11 unit, dated January 28, 1999, Ridgefield, Connecticut.

12 business? 12 A Okay.

13 A Prior to this, but not subsequent to this. 13 Q_ Now, did you -- were you responsible for this

14 Q_ Inother words, once you became the vice 14 news release?

15 __ president for sales and marketing of the corporate 15 A I--I would say yes.

16 American parent, you no longer had any responsibility for 16 Q. As amatter of fact, you're -- you're -- it says

17 passing information down the chain that might relate to 17 ~~ (as read): With the recent acquisition of Ben Venue

18 the generic side; but before you were the vice president 18 Laboratories, Inc., Sheldon Berkle, executive vice

19 for the corporate parent, you did have that 19 president and head business unit, Ethical Pharmaceuticals,
20 responsibility? 20 Boehringer Ingelheim Corporation, USA has announced some
21 A I would like to clarify that because I don't 21 recent changes in the business unit.

22 = agree with your statement. At this point in time it 22 Do you see that?

23 identifies me as head of marketing and sales, either 23 A Yes,Ido.

24 ~~ ethical pharmaceuticals or prescription medicines, which | 24 Q And even the title says (as read): Boehringer

25 refers to the brand business, period. 25 Ingelheim announces changes in U.S. ethical pharmaceutical |

Tea es SSIS RRA I aA a SEAL ORL

Deuaeac ss sakes

eis bats DUD REMAP CL eC

ne

Teme ae hae

Tae.

Case 1:01-cv-12257-PBS Document 6195-2 Filed 06/26/09 Page 8 of 10

19 (Pages 70 to 73

)..

part of the business unit operating committee's agenda;

FSSTORSTSTEURA MAHOU USL WILL ESE SUSU e ATERSSST aS ULES st Oe AON LORDE AMERICUS ROS NA ata AS

70
1 Roxane's generic ipratropium bromide as being of the same 1 correct?
2 quality as Boehringer's brand Atrovent? 2 A Again, not in the details. Dr. Shepard sat on
3 A Again, I'm not aware of the details that would 3. that committee. And, again, I don't recall this memo at
4 have been used in the marketing statements by Roxane. 4 all and it doesn't necessarily mean that this subject
5 MR. BREEN: Let's have this one marked as the 5 would have been discussed at the operating committee.
6 next exhibit. I'll give you yours first, Steve. 6 Q Allright. Well, let's read the memo. It says
7 MR. McCONNICO: Thanks. I appreciate, Jim. 7 (asread): Asa miscellaneous item, I need to bring up a
8 MR. COVAL: 150? 8 topic at BUOC regarding our difficulty maintaining the
9 THE COURT REPORTER: Yes. 9 ipratropium bromide UDV business. We have known that Dey
10 (Exhibit No. 150, E-mail dated 10/20/97, was 10 came in with the advantage of a bundle of three products,
11 marked for identification.) 11 ipratropium, albuterol and cromolyn, as well as a more
12 Q_ [By Mr. Breen] This is Bates labeled ROX 5980. 12 user-friendly package and these advantages would be
13 It purports to be an e-mail from Edward Tupa dated Monday, |13 _ difficult for us to compete with. We assumed that the
14 October 20th, 1997, to Dr. Kirk Shepard, to Jim King, to 14 home care market would be their greatest opportunity.
15 various other individuals one of whom is Mr. Shelly 15 That turned out to be true at the beginning. We did not
16 Berkle. Now, Dr. Kirk Shepard, where did he work? 16 ~— expect they would be able to carry the same clout over the
17 A He-- he worked in Connecticut. 17 hospital and retail side. That no longer appears to be a
18 Q. The same thing -- 18 valid assumption. Our market share in these later markets
19 A -- the Connecticut office. 19 _ is falling significantly.
20 Q The same with Dr. Wolfgang Baiker? 20 Is that something that you were -- had any
21 A Yes. 21 interest in as the executive vice president for sales and
22 Q. Were they U.S. nationals or were they over here 22 marketing of the business unit?
23 from the German parent? 23 A Again, in the case of ipratropium which was a
24 A Dr. Baiker was from the German parent working |24 unique case because the branded product was marketed by
25 within the U.S. organization. Dr. -- Dr. Shepard is a 25 Boehringer Ingelheim Pharmaceuticals. There was a sharing
71 73
1 national. 1 __ of information to make sure everybody on both sides -- in
2 Q. And you see that one of the addressees is a 2 other words, both with Roxane and Boehringer, knew it was
3. Mr. Feldman, Richard Feldman? 3 occurring in the marketplace. But anything to do with the
4 A Correct. 4 — establishment of pricing was decided within the Roxane
5 Q Acopy went to your administrative assistant, 5 organization, had to be approved by the CEO of the Roxane
6  Roseann Press? 6 -- or the president of the Roxane organization. And,
7 A Uh-huh, yes. 7 again, opinions would perhaps be offered between the two
8 Q_ Acopy went to Judy Waterer of Roxane? 8 sister companies, but wouldn't necessarily dictate what
9 A Yes. 9 occurred within the Roxane organization.
10 Q. And the subject is BUOC. Do you know what BUOC | 10 Q_ Well, okay. So Mr. Tupa is talking about the
11 ~~ is? 11 significant declining of the market share for the
12 A Business unit operating committee. 12 ipratropium UDV business; do you see that?
13 Q. Now, this business unit operating committee was a 13 A Yes, Ido.
14 committee involved in operations; right? 14 Q Is that the brand Atrovent business or is that
15 A Yes. But, again, more on a strategic level as 15 the multisource ipratropium business or is it both?
16 ~—_ opposed to a detailed level. 16 A I would -- I would assume it refers to the Roxane
17 Q. And this is when you were the executive vice 17 business because he had responsibility for the multisource
18 president for sales and marketing for the business unit; 18 and not for the branded.
19 correct? 19 Q_ It goes on to say (as read): We now need to
20 A Yes. 20 _ bring greater strength to our offering by utilizing the
21 Q_ So -- but that's -- but you didn't have any 21 power of the BIPI and Roxane respiratory products.
22 operational responsibility for multisource? 22 Do you see that?
23 A Correct. 23 A Yes, Ido.
24 Q Even though -- and multisource then was never 24 Q Now, what respiratory products -- what

multisource respiratory products did BIPI offer?

Case 1:01-cv-12257-PBS Document 6195-2 Filed 06/26/09 Page 9 of 10

20 (Pages 74 to 77

)

74 76

1 A None. 1 __ operated on an open basis and many individuals make many

2 Q. So is he talking about multisource there or is he 2 recommendations and suggestions. Mr. Tupa's

3 talking about brand? 3 _ responsibility was for driving the Roxane business. If he

4 A He would, I assume, be referring perhaps to 4 came up with an idea of perhaps that would help his side

5 Atrovent. But, again, what he says and what was, you 5 of the business, he could state it. It doesn't

6 know, ultimately done isn't necessarily the same thing. 6 necessarily mean that it would be accepted and followed.

7 He would have no responsibility for the branded product. | 7 Q_ Well, let me ask this question: During your

8 Again, because there was a constant sharing of 8 entire tenure at the Boehringer Ingelheim U.S. operations,

9 information, there could be suggestions from one to the 9 was there ever a unified or combined marketing strategy
10 other but not necessarily acted upon. 10 that encompassed the Roxane multisource ipratropium
11 Q Let me go on. It says (as read): This is in 11 product and the Boehringer branded Atrovent ipratropium
12 keeping with our strategic imperative to be a leader in 12 product?
13 respiratory products. 13 A No.
14 Do you see that? 14 Q. Never?
15 A Yes, I do. 15 A No.
16 Q_ Did he make a misrepresentation when he said 16 Q You're sure about that? :
17 ‘that? 17 A [ean't be 100 percent sure. In my recollection ‘
18 A Inwhich way? 18  Idon't believe so. :
19 Q Well, was -- did -- did Boehringer have a 19 Q. Well, if there was a unified strategy to market ;
20 strategic imperative to be a leader in respiratory 20 these two products together, the branded Atrovent and the g
21 products? 21 generic ipratropium bromide, who would be the senior ;
22 A I think we discussed that already. There was a 22 executive in the sales and marketing function responsible |
23 global strategy to be a world leader in respiratory 23 for such a unified strategy in the U.S.? ,
24 products. Roxane was one small cog within that strategy. | 24 A I don't think we should speculate on that sort of
25 Q_ It goes on to say (as read): What I propose is a 25 thing.

75 77

1 rebate to wholesalers and central warehousing drug chains, 1 (Exhibit No. 151, E-mail dated 11/22/95, was

2 amount to be still being worked on, but one percent as a 2 marked for identification.)

3. target, to commit to all of our respiratory products. 3 Q Would you please look at what has been handed --

4 Do you see that? 4 — what is the number on that one, 151, which purports to be

5 A Yes, I do. 5 ane-mail with some attachment from Ed Tupa to David

6 Q (As read): This move would offset the advantages 6 Townley, Bates labeled ROX 04987, 988 and 989, dated 22

7 Dey brings to the market. We have seen what the move of a 7 November 1995 at 6:02 p.m., and you are cc'd on it.

8 major wholesaler from our product on their, quote, source 8 A Okay.

9 program to Dey has done to sales. We must find a means to 9 Q. And if you look at the -- I mean, this is talking
10 bring this business back. I believe the bundle rebate 10 —_ about sales and market projections for the unit dose vial
11 ~—_- would have significant appeal. 11 product of albuterol, correct -- or rather ipratropium
12 Do you see that? 12 bromide? *
13 A Yes, I do. 13 A Amongst other products. :
14 Q. So he's talking about bundling the Roxane 14 Q Allright. And if you go to the next page |
15 — multisource with the Boehringer brand; correct? 15 there's a spreadsheet with some projections regarding :
16 A Ihave no idea. He -- perhaps that may be one 16 ipratropium; correct? ;
17 interpretation, but I can't tell you that's what it refers 17 A Yes.
18 to specifically. 18 Q. And you see they've got the Roxane generic
19 Q. Well, is it your testimony that Mr. Tupa is not 19 projections on there right next to Boehringer Ingelheim
20 recommending a unified marketing approach for the 20 brand projections; do you see that?
21 Boehringer brand ipratropium bromide known as Atrovent and {21 A Yes.
22 the Roxane ipratropium multisource product? 22 Q_ And if you go back to the first page, the third
23 A I--I can't attest to that. That may be one 23 paragraph down, it says (as read): In the U.S., Roxane
24 interpretation. And, again, it doesn't mean that it was 24 will be launching a generic of Atrovent. Underlying the :
25 necessarily followed. Again, people -- we opened -- we 25 attached forecast is the assumption that Roxane will begin

ee —
TalcT iva ipl thd Mave saa Aa aaa OP RANMA alee ol ROLE SMO SL MO cs MLC a RAISED EERE aE ISL AL oe A CR SL

en ENE aed TO MUNDELL Re

Case 1:01-cv-12257-PBS Document 6195-2 Filed 06/26/09 Page 10 of 10

40 (Pages 154 to 157

)

154 156
1 a few weeks ago up in Boston and he's employed somewhere | 1 A. I believe it was 2000. I can't recall precisely.
2 up there. 2 Q. And then before that Mr. King did, in fact, work
3 A Correct. 3 for Roxane?
4 Q. Do you know -- can you tell me the circumstances 4 A He - he worked for BIPI, but he had a
5 of Mr. Feldman leaving his employment with the BI 5 responsibility for the branded side of Roxane, sales. And
6 companies? 6 I think if you refer back to the memo you pointed out, to
7 A My understanding that he was made a offer he 7 Memo 149, Exhibit 149, you know, it really referred to the
8 couldn't refuse. 8 branded responsibility.
9 QI would -- I would want to ask you the same 9 Q. Okay. And do you know -- before his promotion to
10 series of questions that I asked about Mr. Tupa. And that 10 vice president, do you have any idea of how many people
11 is with Mr. Feldman, as far as you know was there any 11 approximately were reporting to him as their supervisor?
12 reason that he was asked to consider going somewhere else? |12 A Well, he would have had multiple regional sales
13 A I don't think so but, again, he left after I 13 directors in the field. So direct reports he would have
14 retired. 14 had a dozen, maybe something like that.
15 Q. Okay. James King, did he have a direct line or a 15 Q When he got promoted to vice president, did the
16 — dotted-line reporting responsibility to you? 16 number of people under his supervision decrease or
17 A Direct. 17 increase?
18 Q. Okay. And take a look at Exhibit 149. 18 A It would have excluded any Roxane responsibility.
19 A Forty-nine. 19 But what did increase is the breadth of his organization
20 Q Yes, sir. I think that that's the press release, 20 as we were increasing sales force size -- size
21 the news release. 21 substantially.
22 A One forty-nine? 22 Q_ But my question is: Did the number of people
23 Q Yes, sir. 23 that he was responsible for supervising increase or
24 A Okay. 24 decrease when he was promoted to vice president?
25 Q. And this on the second page announces a promotion {25 A_ It probably remained about the same.
155 157
1 for James King; correct? 1 Q. And as far as you know Mr. King was not demoted,
2 A Correct. 2 disciplined or asked to leave, he just left?
3 Q. And the date of this is, what, January 28th, 3 A Again, it happened after my retirement. It was
4 1999; correct? 4 my understanding it happened towards the end of 2004 and I
5 A Right. 5 was not there.
6 Q Now, do I understand that sometime after 6 Q. Okay. Do you know who his supervisor was at the
7 ~~ January 28, 1999, Mr. King was either demoted or 7 time that he left?
8 dismissed? 8 A Yes. The individual that replaced me and Mr.
9 A No. In fact, he was promoted to a vice president 9 Paul Fonteyne.
10 level after that. 10 Q F-o-n-t-a-n-e?
11 Q Do you recall the precise title that he had as 11 A T-e-y-n-e.
12 vice president? 12 QI would never have stumbled onto that spelling.
13 A Vice president sales. 13. Thank you. Once again refer to Exhibit 139, the
14 Q. And on the org chart of 139, if he -- he was a 14 — organization chart there.
15 BIPI employee; right? 15 A Uh-huh.
16 A Yes, he was. 16 Q_ Now, you have referred to direct lines and dotted
17 Q So he wouldn't be on 139? 17 lines; correct?
18 A Well, he's -- he's there. And, again, keep in 18 A Correct.
19 mind that in 2000 there was a reorganization so that 19 Q. And this chart does, in fact, contain some dotted
20 Mr. King, again, I can't recall the timing of his 20 lines and some direct lines; correct?
21 assignment to vice president, but it would have been for {21 A Yes.
22 the BIPI line of business exclusively. Because as I 22 Q But my understanding is you take the position
23 indicated before, Roxane Ben Venue was really separated | 23 _ that this chart is incorrect in that it has attributed to :
24 totally under the responsibility of Tom Russillo. 24 you more direct lines than it should; is that right?
25 Q_ That happened in 2000? 25 A. That's right. |

———————————
jah Soevac aR San LTA Raa A pease RL A ET SEITE SSL AGE EL aH REA ACN SSMS BCIAI BI A UGULUEDUSIS HO 3 -SAnT NST DN Coa UT AC SRR AT

